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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                               )
  FIX THE COURT,                               )
                                               )
                   Plaintiff,                  )
                                               )
  v.                                           )    Case No. 18-2091 (TJK)
                                               )
  U.S. DEPARTMENT OF JUSTICE,                  )
                                               )
                  Defendant.                   )
                                               )

                                   JOINT STATUS REPORT

        Plaintiff Fix the Court and Defendant U.S. Department of Justice (“DOJ”) respectfully

 submit this status report in the above-captioned matter, pursuant to the Court’s November 8,

 2019 Minute Order.

        1. DOJ has completed the production of responsive, non-exempt higher priority records

            with the final production occurring on November 6, 2019.

        2. The consultation process for the lower priority records is ongoing and DOJ

            anticipates making an interim production of responsive, non-exempt information by

            March 20, 2020.

        3. The parties propose to file another joint status report by March 31, 2020.

Dated: January 10, 2020
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                                  Respectfully submitted,

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